THE COURT.
The defendants have appealed from the judgment herein in favor of the plaintiff.
[1] This cause and that of Mazzera v. Ramsey et al.,ante, p. 601 [238 P. 101], were on the calendar for oral argument at the same time. In lieu of oral argument, each party has filed a single brief, covering both cases. In appellant's brief it is said: "The appeals in both cases are from judgments in favor of the respective owners against sureties upon a faithful performance builders' bond and practically involve the same points, any material differences will be pointed out herein." No material differences have been pointed out and it would serve no useful purpose to repeat what is said in the opinion filed in the Mazzera case.
The judgment is affirmed.
Appellants' petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on July 7, 1925.
All the Justices concurred.
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